Case 1:18-cv-23332-JEM Document 10 Entered on FLSD Docket 10/17/2018 Page 1 of 1



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                                SOU TH ERN D ISTRICT OF FLOR IDA
                                        M IAM ID IV ISIO N
                   Case Num ber: 18-23332-CIV-M ART1NEZ-O TAZO-% YES
   FERY AL M O HA M M AD A ND W A JD AN
   M OHAM M AD,I
          Plaintiffs?



   CITIBANK,N.X.,
          Defendaljt,
                                               /

                          ORDER ON NOTICE O F SETTLEM ENT AND
                        DENYING ALL PENDING M OTIONS AS M OO T
          THIS CAUSE camebeforetheCourtupon PlaintiffsNoticeofSettlement(ECF No.9),
   indicatingthatthepartieshavereached asettlem entin thismatter.Itishereby ORDERED AND
   ADJUDGED as'follows:
               ThepartiesshallfileeitheraNoticeofDismissal(iftheDefendanthasnotserved
   ananswerormötion forsummaryjudgment)oraStipulationofDismissal(signed by a1lparties
   who have appeared in this action),which must be filed with the Clerk of the Court;a
   proposed OrderofDismissalorFinalJudgm ent'
                                            ,and any otherdocum entsnecessary to conclude
   this action on or before Novem ber 15.2018.
                  lf the parties failto com ply with this order,the Courtshalldism iss this case
   withoutprejudicrwithoutanyfurtherwarning.
                   r
                  The Clerk isDIRECTED toDENY ALL PENDING M OTIONS AS M OOT.
          4.      'rhe Clerk shall ADM INISTR ATIVELY CLO SE this case for statistical
   purposesonly. Thisshallnotaffectthe substantive rightsoftheparties.
          DONEANDORDEREDinChambersatMiami,Florida,this(ûdayo October,2018.
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                                                     UN IT D STA TES D ISTRICT JUD GE
   Copiesprovided to:
   M agistrate O tazo-R eyes
   A 11CounselofRecord
